                             EXHIBIT 49


Exploring Race-Neutral Alternatives in Undergraduate Admissions
                        (“White Paper”)
                       (UNC0283540-68)




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